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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION
                            CASE NO. 3:23-CR-00023-DJH-2

UNITED STATES OF AMERICA                                                       PLAINTIFF

V.                                         ORDER

JENNIFER O’BANNON                                                           DEFENDANT

       Jennifer O’Bannon having moved for the postponement of trial under 18 U.S.C. §

3161(h)(1) so that the parties may continue negotiations to resolve this litigation, and

with the United States having no objection thereto, and the Court having reviewed this

matter and being otherwise sufficiently advised;

       IT IS HEREBY ORDERED that the Defendant’s Motion is GRANTED. The Court

finds that the period of delay occasioned by the requested continuance is one that

results from “other proceedings concerning the defendant,” and therefore shall be

excluded from the Speedy Trial Act’s computations pursuant to § 3161(h)(1) and United

States v. Bowers, 834 F.2d 607, 609-610 (6th Cir. 1987).


       The Court shall set a new schedule by subsequent Order.
